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         EXHIBIT C
    Corrected Rimini Third
     Amended Complaint
         REDACTED
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            1    GIBSON, DUNN & CRUTCHER LLP              DEBEVOISE & PLIMPTON LLP
                 Jeffrey T. Thomas (pro hac vice)         James J. Pastore (pro hac vice)
            2    Michele L. Maryott (pro hac vice)        919 Third Avenue
                 Joseph A. Gorman (pro hac vice)          New York, NY 10022
            3    3161 Michelson Drive                     Telephone: (212) 909-6000
                 Irvine, CA 92612-4412                    jjpastore@debevoise.com
            4    Telephone: (949) 451-3800
                 jtthomas@gibsondunn.com                  DEBEVOISE & PLIMPTON LLP
            5    mmaryott@gibsondunn.com                  Jeffrey P. Cunard (pro hac vice)
                 jgorman@gibsondunn.com                   801 Pennsylvania Avenue N.W.
            6                                             Washington, DC 20004
                 GIBSON, DUNN & CRUTCHER LLP              Telephone: (202) 383-8000
            7    Samuel G. Liversidge (pro hac vice)      jpcunard@debevoise.com
                 Eric D. Vandevelde (pro hac vice)
            8    333 South Grand Avenue                   RIMINI STREET, INC.
                 Los Angeles, CA 90071-3197               Daniel B. Winslow (pro hac vice)
            9    Telephone: (213) 229-7000                6601 Koll Center Parkway, Suite 300
                 sliversidge@gibsondunn.com               Pleasanton, CA 94566
          10     evandevelde@gibsondunn.com               Telephone: (925) 264-7736
                                                          dwinslow@riministreet.com
          11     HOWARD & HOWARD ATTORNEYS
                 W. West Allen (Nevada Bar No. 5566)      RIMINI STREET, INC.
          12     3800 Howard Hughes Parkway, Suite 1000   John P. Reilly (pro hac vice)
                 Las Vegas, NV 89169                      3993 Howard Hughes Parkway, Suite 500
          13     Telephone: (702) 667-4843                Las Vegas, NV 89169
                 wwa@h2law.com                            Telephone: (336) 402-4068
          14                                              jreilly@riministreet.com
                 Attorneys for Plaintiff and Counterdefendant
          15     Rimini Street, Inc., and Counterdefendant Seth
                 Ravin
          16
                                            UNITED STATES DISTRICT COURT
          17                                      DISTRICT OF NEVADA

          18     RIMINI STREET, INC., a Nevada            CASE NO. 2:14-CV-01699-LRH-CWH
                 corporation,
          19                                              CORRECTED THIRD AMENDED
                                    Plaintiff,            COMPLAINT FOR:
          20                                              (1) DECLARATORY JUDGMENT OF
                       v.                                 NONINFRINGEMENT OF COPYRIGHT
          21                                              (2) DECLARATORY JUDGMENT OF
                 ORACLE INTERNATIONAL                     NO HACKING
          22     CORPORATION, a California corporation,   (3) DECLARATORY JUDGMENT OF
                 and ORACLE AMERICA, INC., a Delaware     COPYRIGHT MISUSE
          23     corporation,                             (4) INTENTIONAL INTERFERENCE
                                                          WITH CONTRACT
          24                        Defendants.           (5) INTENTIONAL INTERFERENCE
                                                          WITH PROSPECTIVE ECONOMIC
          25                                              ADVANTAGE
                                                          (6) VIOLATION OF NEVADA
          26                                              DECEPTIVE TRADE PRACTICES ACT
                                                          (7) VIOLATION OF LANHAM ACT
          27                                              (8) VIOLATION OF CAL. BUS. &
                                                          PROF. CODE §§ 17200, ET SEQ.
          28     AND RELATED COUNTERCLAIMS.               (JURY TRIAL DEMANDED)

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            1             Plaintiff Rimini Street, Inc. (“Rimini”), for its Third Amended Complaint against
            2    Defendants Oracle International Corporation and Oracle America, Inc. (unless otherwise
            3    indicated, together, “Oracle”), alleges as follows:
            4                             INTRODUCTION AND BACKGROUND
            5             1.    Rimini was founded by Seth Ravin in Las Vegas, Nevada in 2005 with his own
            6    savings and money raised from friends and family. Rimini was formed in response to the
            7    tremendous customer demand for an alternative choice to the costly and unending upgrade
            8    cycles, rising support fees, and layers of hidden maintenance costs associated with traditional
            9    models of aftermarket support provided by enterprise software vendors like Oracle without any
          10     meaningful competition. Rimini has signed more than 1,850 clients around the world since its
          11     inception (with each supported product line for a given company representing a separate client),
          12     including more than 150 of the Fortune 500 and Fortune Global 100 (many of them leading
          13     technology companies), that have chosen Rimini for financial savings and a superior support
          14     model that better meets their needs. Rimini’s clients also include many government, public
          15     sector, and not-for-profit organizations around the world.
          16              2.    Since its inception, Rimini has experienced consistent, rapid growth due to client
          17     success with its support offering. Indeed, Rimini has reported 43 consecutive quarters of
          18     revenue growth, with an average annual growth rate of 37% since 2010, and now has annual
          19     run-rate revenues of $163 million. As of September 30, 2016, Rimini has more than 830 active
          20     worldwide employees, an increase of 30% year-over-year, with more than 400 in the United
          21     States. Rimini is planning to become a public company, with an initial public offering of its
          22     stock.
          23              3.    Rimini’s vision and business plan has always been to serve the large and
          24     growing global demand for alternative choices in aftermarket support services for enterprise
          25     software products, like those offered by Oracle. Unlike the extensive availability of aftermarket
          26     alternative choices in local mechanics and repair shops for automobiles or other consumer
          27     goods, the aftermarket for enterprise software support has been characterized by the very
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            1    expensive and often unresponsive offerings of the software vendors themselves, and few
            2    alternative choices for consumers.
            3           4.      Enterprise software licensees want alternative choices to the expensive
            4    aftermarket support offered by enterprise software vendors like Oracle because the traditional
            5    model involves (i) costly and unending upgrade and update cycles in order to be eligible to
            6    continue receiving full support services, (ii) uplift penalty charges for licensees that choose not
            7    to upgrade (the upgrade may not be wanted or needed), and (iii) supplemental costs for support
            8    services that are traditionally “out of scope,” but regularly needed by licensees, such as support
            9    for customizations, performance, and interoperability.
          10            5.      By contrast, Rimini’s aftermarket support program includes these traditionally
          11     “out of scope” support services at no extra charge, provides ultra-responsive 24 x 7 support
          12     with 15-minute emergency response guarantees, and offers its clients dedicated, named
          13     engineers with an average of 15 years of experience—all at around 50% of the annual support
          14     fees demanded by enterprise software vendors. By using Rimini for support, enterprise
          15     software licensees can save up to 90% on their total operating costs over a decade, and they
          16     receive a highly responsive support model where clients on average rate their satisfaction with
          17     solving cases at more than 4.8 out of 5.0 (where 5.0 is “excellent”), compared to remaining on
          18     the software vendor’s expensive and unresponsive annual support program and model.
          19            6.      Rimini initially offered aftermarket services for Oracle’s Siebel software
          20     product, and later expanded its offerings to include support for Oracle’s PeopleSoft, JD
          21     Edwards, Database, E-Business Suite, and other software products. To date, hundreds of Oracle
          22     software licensees have enjoyed and successfully utilized Rimini support services.
          23            7.      Rimini’s success has made it the leading global provider of independent
          24     aftermarket enterprise software support services for Oracle software products. And Rimini is
          25     poised for even greater growth.
          26            8.      Rimini’s success, however, has also made it a target. Rimini’s offering of
          27     independent aftermarket support for Oracle software products, and the decision of Oracle
          28     licensees to purchase Rimini’s services, pose a direct competitive threat to Oracle, the world’s

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            1    largest enterprise software company, and the high-margin support contracts that bring it billions
            2    of dollars every year.
            3           9.      This action arises from just the latest chapter in Oracle’s attempt to slow
            4    Rimini’s growth and protect Oracle’s inflated profits. Oracle’s harassment and anticompetitive
            5    tactics to stave off competition from Rimini began soon after Rimini’s inception. Indeed, within
            6    days following Rimini’s announced service offering for Oracle’s Siebel software in 2005,
            7    Oracle sent a threatening letter to Rimini, and such threatening and hostile letters continued
            8    from 2005 to 2009. During this same period, Oracle refused each and every one of Rimini’s
            9    offers to meet “anywhere, any time” to attempt a resolution of any Oracle concerns.
          10            10.     In addition to its threatening letters, Oracle took a number of anticompetitive
          11     steps designed to make it more difficult and costly for independent aftermarket support
          12     providers to compete and service their Oracle licensee clients. For example, in 2007, Oracle
          13     changed its website terms of use to preclude third-party support providers like Rimini from
          14     using automated tools to assist clients in downloading the potentially thousands of software
          15     support files from Oracle’s website to which the clients were entitled and had paid Oracle for
          16     in full, requiring instead that substantial additional time and labor resources be expended to
          17     download the same (client-entitled and fully-paid-for) files manually.
          18            11.     Despite Oracle’s anticompetitive conduct between 2005 and 2009, licensees
          19     continued to turn to Rimini in record numbers to escape Oracle’s punitive business practices,
          20     unresponsive service, and costly support model. So, on January 25, 2010, Oracle sued Rimini
          21     for copyright infringement (the “Rimini I” case) and 11 other causes of action for alleged
          22     business misconduct.
          23            12.     On January 28, 2010, three days after Oracle filed its complaint, Oracle’s then-
          24     Executive Vice President of Customer Services, Juergen Rottler, was quoted in an article
          25     threatening third parties that dare compete with Oracle for aftermarket service of Oracle’s
          26     products, stating, “We believe we should be the ones to support our customers, . . . If you’re
          27     a third party support provider offering multivendor support, we’re coming. We’re coming.”
          28

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            1           13.     Rimini did not believe it was infringing any Oracle copyrights, and had no
            2    interest in infringing Oracle’s copyrights or engaging in any wrongful conduct. After years of
            3    litigation, Rimini was found liable for infringing specific Oracle copyrights based on its use of
            4    certain legacy support processes. The jury specifically found that Rimini did not “willfully”
            5    infringe any of Oracle’s copyrights, and instead found that Rimini’s infringement was
            6    “innocent” (meaning that Rimini “was not aware that its acts constituted infringement” and
            7    “had no reason to believe that its acts constituted infringement”). Rimini was also found liable
            8    for continuing to use automated tools to download files from Oracle’s websites for a brief period
            9    after Oracle changed its website terms of use to prohibit the use of such tools.
          10            14.     The jury rejected Oracle’s claim that Mr. Ravin was vicariously or personally
          11     liable for any of the innocent infringement, rejected Oracle’s damages claim of $249 million,
          12     and instead awarded only $50 million, which included a Fair Market Value License for the use
          13     of Oracle’s copyrighted works. Further, the jury found that Oracle suffered no lost profits as a
          14     result of the “innocent” infringement, it rejected all of Oracle’s claims for tortious interference,
          15     and it refused to award Oracle punitive damages. In the end, Oracle withdrew or lost 9 out of
          16     the 12 claims it pursued aggressively against Rimini for years.
          17            15.     Oracle did not publicize these findings by the jury, and instead mounted a
          18     campaign to misrepresent to Rimini’s clients and prospective clients the results of the litigation
          19     and the nature of Rimini’s support services.
          20            16.     While Rimini respectfully disagrees with the Court’s findings, it has complied
          21     with the support process changes required by the Court, has paid the judgment to Oracle in full,
          22     and is pursuing an appeal of the judgment with the Ninth Circuit Court of Appeals.
          23            17.     Since the Rimini I trial ended in October 2015, Rimini’s growth has accelerated,
          24     it has launched support for additional Oracle product lines, and it continues to expand its
          25     operations. But, undoubtedly in response to Rimini’s continued growth and success, Oracle
          26     has expanded its efforts to interfere with Rimini’s client relationships.
          27            18.     Despite the modifications Rimini has made to its processes to ensure compliance
          28     with the Court’s orders in Rimini I (pending appeal) and with Oracle’s licenses, and although

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            1    Oracle’s most senior executives have conceded publicly and under oath, as they must, that
            2    Oracle licensees are free to use third parties instead of Oracle for their aftermarket support needs
            3    (or even “self-support” without any outside assistance), Oracle clearly wants to keep potential
            4    competitors and Oracle licensees guessing about how to comply with Oracle’s complex
            5    licensing rules. To this day, after a decade of harassment and litigation, Oracle still refuses to
            6    tell its licensees what practices it views as proper. This game-playing should stop. Consumers
            7    have spoken, and they want the ability to freely, without harassment or threat, exercise their
            8    legal right to choose an alternative aftermarket support provider instead of the software
            9    vendor’s offering. Oracle should stop interfering with its licensees’ rights and with legal, open
          10     market competition, and choice.
          11            19.     Rimini wants certainty, and has thus brought this action seeking a declaration
          12     that its current processes do not infringe Oracle’s copyrights.
          13            20.     Rimini also wants a level, fair market playing field. Thus, Rimini brings this
          14     further action to put a stop to Oracle’s deceptive and anticompetitive conduct and practices that
          15     are designed to slow Rimini’s growth and foreclose competition in aftermarket support for
          16     Oracle’s software products.
          17            21.     Oracle says that it invites fair and open competition, but its actions prove
          18     otherwise. Indeed, there is overwhelming evidence that Oracle has orchestrated and
          19     implemented a scheme to disparage Rimini and its services with false and misleading
          20     statements to Rimini’s current and prospective clients. For example, Oracle knows that Rimini
          21     and other third parties may legally provide support for Oracle software, and that Oracle
          22     licensees may legally purchase third-party support. As Oracle’s own co-CEO testified under
          23     oath, “customers are free to use someone other than Oracle for their maintenance and
          24     support” and “[i]t is the customer’s choice.” (Emphasis added.) But privately, Oracle tells
          25     customers,
          26                                              This is a false statement, plain and simple, and Oracle
          27     knows it. Oracle also makes numerous other false and deceptive statements regarding Rimini’s
          28     services. These statements include that

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            3                              , among many other false and deceptive statements. Oracle makes
            4    these false statements to try to interfere with and slow Rimini’s growth and foreclose
            5    competition in aftermarket service for Oracle’s software products.
            6           22.     After engaging in these deceptive and anticompetitive practices for years, Oracle
            7    recently took an unprecedented step in its campaign to foreclose competition for aftermarket
            8    software support and interfere with Rimini’s existing and prospective economic relationships.
            9    On January 17, 2017, Oracle sent Rimini a letter providing Rimini 60 days’ notice of Oracle’s
          10     intent to “terminate and revoke any and all permissions, licenses and rights that [Rimini] has
          11     been granted to access Oracle’s support websites.”
          12

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          15                                                                                 Despite being fully
          16     aware that Rimini was offering those services to its clients for more than a decade, and despite
          17     having brought dozens of claims against Rimini in litigation since 2010, Oracle never claimed,
          18     until it sent its letter, that it was improper for its customers to use Rimini to provide these
          19     services. Oracle’s sudden and baseless notice of revocation of Rimini’s access rights is a brazen
          20     anticompetitive and tortious act, and it will have direct and harmful effects on clients and the
          21     competitive market.
          22            23.     Oracle’s conduct constitutes intentional interference with Rimini’s contractual
          23     relations, intentional interference with Rimini’s prospective economic advantage, and it
          24     violates the Nevada Deceptive Trade Practices Act, the Lanham Act, and California’s Unfair
          25     Competition Law. Further, Rimini seeks a declaration that Oracle’s notice of revocation of
          26     Rimini’s access to Oracle’s support websites constitutes copyright misuse, and that Rimini’s
          27     continued access to those websites would not constitute hacking under the federal, California,
          28     or Nevada anti-hacking laws.

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            1                                               PARTIES
            2           24.     Plaintiff Rimini is a Nevada corporation, with its headquarters in Las Vegas.
            3           25.     Defendant Oracle International Corporation is a California corporation, with its
            4    principal place of business in Redwood City, California. Oracle International Corporation is
            5    the owner or exclusive licensee of the copyrights at issue in this action.
            6           26.     Defendant Oracle America, Inc. is a Delaware corporation, with its principal
            7    place of business in Redwood City, California. Oracle America, Inc. competes with Rimini in
            8    providing aftermarket software support services to enterprises that purchase Oracle software.
            9                                   JURISDICTION AND VENUE
          10            27.     This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338 over
          11     the first, second, third, and seventh causes of action. The first cause of action arises under the
          12     Copyright Act, 17 U.S.C. §§ 101 et seq., and is brought pursuant to the Declaratory Judgment
          13     Act, 28 U.S.C. § 2201. The second cause of action arises, in part, under the Computer Fraud
          14     and Abuse Act, 18 U.S.C. §§ 1030 et seq., and is brought pursuant to the Declaratory Judgment
          15     Act. The third cause of action arises under the federal common law relating to copyright
          16     misuse, and is brought pursuant to the Declaratory Judgment Act. The seventh cause of action
          17     arises under the Lanham Act, 15 U.S.C. §§ 1051 et seq.
          18            28.     This Court has supplemental subject matter jurisdiction over the state law claims
          19     asserted in the second, fourth, fifth, sixth, and eighth causes of action under 28 U.S.C. § 1367,
          20     because these claims are so related to Rimini’s claims under federal law that they form part of
          21     the same case or controversy and derive from a common nucleus of operative facts.
          22            29.     This Court also has original subject matter jurisdiction over the state law claims
          23     under 28 U.S.C. § 1332 because there is a complete diversity of citizenship between Plaintiff
          24     and Defendants, and the amount in controversy exceeds $75,000.
          25            30.     Rimini is informed and believes, and upon such information and belief alleges,
          26     that Oracle International Corporation and Oracle America, Inc. have systematically and
          27     continuously availed themselves of the privilege of doing business in Nevada to exploit the
          28     copyrights at issue in this action. These copyrights are currently being asserted against Rimini

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            1    in Rimini I, which Oracle International Corporation and Oracle America, Inc. themselves
            2    brought in this District. Oracle International Corporation and Oracle America, Inc. have also
            3    asserted counterclaims in this very action.       Oracle International Corporation and Oracle
            4    America, Inc. therefore have sufficient contacts with this District in connection with the facts
            5    alleged in this action. Oracle International Corporation and Oracle America, Inc. are thus
            6    subject to personal jurisdiction in this Court.
            7           31.     Venue in this District is appropriate, pursuant to 28 U.S.C. § 1391, because a
            8    substantial part of the events giving rise to the dispute occurred in this District and because the
            9    Court has personal jurisdiction over Oracle International Corporation and Oracle America, Inc.
          10     as alleged throughout this Complaint.
          11            32.     Assignment to the Las Vegas division is proper under Civil Local Rule IA8-1(a)
          12     because this action arises, in part, in Las Vegas, where Rimini is headquartered and where
          13     Rimini I was litigated.
          14                                      FACTUAL ALLEGATIONS
          15            33.     For more than a decade, Oracle licensees have clamored for an alternative choice
          16     to the never-ending cycle of forced software upgrades and updates, and the exorbitant annual
          17     fees charged by Oracle for its aftermarket support. Rimini has increasingly become a preferred
          18     alternative to Oracle’s support offering, with its client-focused, ultra-responsive support service
          19     and significant savings.
          20            34.     But Rimini’s success has also caused it to become a target. Indeed, from soon
          21     after Rimini’s inception to the present, Oracle has sought to curb Rimini’s growth by any means
          22     possible in order to protect its multi-billion-dollar cash cow of high-margin support contracts.
          23            35.     Oracle is currently engaging in an anticompetitive and deceptive scheme to
          24     broadly disseminate false and misleading statements throughout Rimini’s current and
          25     prospective client base with the intent of causing fear, uncertainty, and doubt regarding
          26     Rimini’s services. Moreover, on January 17, 2017, Oracle took the unprecedented step of
          27     providing notice that it intended to revoke Rimini’s access to Oracle’s software support
          28     websites, which Rimini has been accessing on behalf of its clients to provide aftermarket

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            1    software support services for more than a decade. This scheme has caused, and continues to
            2    cause, damage to Rimini’s business.
            3           36.     Upon information and belief, this scheme has been, and continues to be,
            4    orchestrated and led by Oracle management in the United States, including, without limitation,
            5    at Oracle’s headquarters in California.
            6    A.     Oracle’s False and Misleading Statements Regarding Rimini’s Services
            7           37.     As part of Oracle’s efforts to slow Rimini’s growth, Oracle has disseminated
            8    numerous false and misleading statements regarding Rimini’s services throughout Rimini’s
            9    current and prospective client base in an effort to persuade those current and prospective clients
          10     to terminate their relationships with Rimini.
          11            38.     Customers shopping for enterprise software want to ensure that after purchasing
          12     their software license, and spending significant time and resources implementing and
          13     integrating that software into vital aspects of their businesses, they will have the option of
          14     selecting and using an alternative to the enterprise software vendor’s support offering and
          15     model. Accordingly, to induce enterprises to purchase its software, Oracle states publicly that
          16     its licensees are free to support and maintain their software themselves (“self-support”) or
          17     through third parties like Rimini, and
          18            39.     For example, Oracle’s co-CEO testified under oath in September 2015 that
          19     Oracle’s “customers are free to use someone other than Oracle for their maintenance and
          20     support” and that “[i]t is the customer’s choice” of whether to use Oracle or a third party for
          21     such maintenance and support. Indeed, Oracle’s publicly stated philosophy with regard to such
          22     competition is “bring it on” because “competition makes you better” and “keeps you very, very
          23     sharp.” Oracle’s Senior Vice President of Alliances and Channels for Europe, Middle East, and
          24     Asia, David Callaghan, has publicly echoed these statements about customer choice. In an
          25     article published in August 2016 for which he was asked about competition from “[t]hird-party
          26     support providers,” Mr. Callaghan stated, “In a free market there will always be competition.
          27     We respect our customers, and customers have a choice. . . . It means organizations like ours
          28     can never and should never be complacent. You have to earn the right.”

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            1           40.     Oracle has also stated publicly that its software licenses permit third-party
            2    support. Oracle’s Senior Vice President of Global Practices, Richard Allison, confirmed in
            3    sworn trial testimony that Oracle’s licenses permit third-party support providers like Rimini to
            4    “dial in remotely to the customer’s facility and access and use the software that way.”
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          13            41.     While Oracle publicly states that it respects “customer choice” and that third-
          14     party support is a viable option, internal documents written by Oracle’s senior management,
          15     along with Oracle’s private correspondence with its licensees, tell a vastly different story.
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            6               These statements are false, as Oracle well knows. Upon information and belief, Oracle
            7    has made similar false and misleading statements about
            8                                                          to other Rimini current and prospective
            9    clients.
          10                43.   As set forth in detail below, Oracle’s latest anticompetitive maneuver further
          11     underscores the disingenuous nature of Oracle’s public statements that it accepts and welcomes
          12     third-party support. On January 17, 2017, Oracle sent Rimini a letter providing Rimini 60 days’
          13     notice of Oracle’s intent to revoke Rimini’s access to Oracle’s support websites. In doing so,
          14     Oracle made clear its intent to block every one of its licensees from
          15     use Rimini to access and download support files from Oracle’s websites—services that those
          16     licensees want to purchase from Rimini.
          17                44.   Oracle has also falsely described to a number of Rimini’s current and
          18     prospective clients
          19

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          27                                                      Oracle knew or should have known that Rimini
          28     offers its clients complex and sophisticated software application, repository, and customization

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            4          Upon information and belief, Oracle has used this and similar
            5    during its discussions with Rimini’s current and prospective clients to disseminate such
            6    misleading representations, and it continues to do so.
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          21                                                                      Upon information and belief,
          22     Oracle representatives have used this and similar                     to disseminate false and
          23     misleading representations regarding                                   to Rimini’s prospective
          24     and current client base.
          25            48.     Oracle has also made the false statement to its licensees that
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            7                      This statement is false, and Oracle knew or should have known of its falsity.
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          10                                    Upon information and belief, Oracle has used, and continues to
          11     use, these and similar                 to dissuade Rimini’s current and prospective client base
          12     from establishing or continuing their relationships with Rimini.
          13            49.     Oracle has also falsely represented to Rimini’s prospective and existing clients
          14     that
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          16            50.
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            1                                                                    Despite that capacity, Oracle
            2    continues to make these false statements, and has now purported to revoke Rimini’s access to
            3    Oracle’s websites based in part on the groundless insinuation
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            5           51.     Oracle has also falsely represented to Rimini’s clients that
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          14     Upon information and belief, Oracle has disseminated, and continues to disseminate, similar
          15     false statements to prospective and current Rimini clients.
          16            52.     And Oracle continues to tell Rimini’s client base that
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          23                              Thus, upon information and belief, Oracle has made this and similar
          24     statements to Rimini’s current and prospective clients that
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          26            53.     Upon information and belief, Oracle has disseminated other false, misleading,
          27     and disparaging statements regarding Rimini’s services and business model throughout
          28     Rimini’s current and prospective client base that are similar to the statements alleged herein.

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            1    Therefore, Oracle’s false, misleading, and disparaging statements discussed throughout this
            2    Complaint are exemplary only, and other instances of Oracle’s misconduct will be proven at
            3    trial. Further, upon information and belief, the examples discussed herein are not isolated
            4    instances but reflect a calculated scheme by Oracle to interfere with Rimini’s client
            5    relationships.
            6           54.        Oracle knew, or should have known, that the above statements by Oracle to
            7    Rimini’s current and prospective clients are false and misleading because of Oracle’s intimate
            8    familiarity with Rimini’s services as a result of, among other things, years of litigation and
            9    discovery, including production of millions of pages of documents and data with details about
          10     Rimini’s processes.
          11            55.        The apparent intent of Oracle’s various false, misleading, and disparaging
          12     statements regarding Rimini’s services is to cause fear and uncertainty among Rimini’s client
          13     base in the hope that these deceptive statements will slow Rimini’s rapid growth by dissuading
          14     licensees that are considering contracting with Rimini from doing so, and induce licensees that
          15     have already chosen Rimini to return to Oracle for support. Indeed, Oracle contacts its licensees
          16     soon after receiving information that the licensee is considering choosing Rimini or that the
          17     licensee has in fact signed a contract with Rimini. For example,
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          22            56.        While Rimini has continued to focus on providing excellent and responsive
          23     support at the best possible value for its clients, Oracle’s conduct has had its intended effect on
          24     some Rimini clients and prospective clients.
          25

          26                      Indeed, but for Oracle’s interference and as a direct result of Oracle’s
          27     anticompetitive and coercive conduct, some prospective clients that would have selected Rimini
          28     for their aftermarket support services decided against doing so, some current Rimini clients

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            1    decided not to expand their relationships with Rimini, and some other Rimini clients terminated
            2    their relationships with Rimini. Upon information and belief, such clients include, for example,
            3                                                                                                     ,
            4    a construction materials manufacturer, and                                               . Other
            5    Rimini clients have decided against expanding their existing relationship with Rimini because
            6    of Oracle’s conduct, including, upon information and belief,                                .
            7    B.     Oracle’s Selective Threats of License Audits Targeting Rimini’s Clients
            8           57.     Oracle is also using the threat of software license audits to interfere with
            9    Rimini’s client relationships. While Oracle is permitted to audit its customers’ licenses under
          10     its license agreements, Oracle uses its audit power to improperly harass Rimini’s clients and
          11     interfere with Rimini’s business. Indeed, as one former Oracle licensee recently stated publicly,
          12     Oracle is “notorious around the globe for their predatory audit practices.” The licensee
          13     continued, “Oracle and its related entities utilize the limited audit rights granted to them under
          14     their software license agreements as a tool to improperly drive further sales of Oracle software
          15     products.”
          16            58.     In letters to Rimini client
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            2                    Upon information and belief, other clients have terminated their contracts with
            3    Rimini or opted not to renew because of Oracle’s threats and actions.
            4    C.      Oracle’s Attempt to Foreclose Competition by Revoking Rimini’s Access to
            5            Oracle’s Websites
            6            59.    Less than two weeks after the United States Court of Appeals for the Ninth
            7    Circuit entered an order staying the permanent injunction entered by this Court in Rimini I,
            8    Oracle’s outside counsel in this case informed Rimini’s counsel, for the first time, that it would
            9    be filing a claim for declaratory relief. Oracle’s counsel did not disclose the basis for
          10     declaratory relief on the ground that it was work product.
          11             60.    On January 17, 2017, Oracle sent Rimini a cease and desist letter stating that, in
          12     60 days, Oracle intended to revoke Rimini’s access to the Oracle websites where Oracle makes
          13     its updates, patches, and other support materials available for licensees of Oracle enterprise
          14     software       products,       including        support.oracle.com,        edelivery.oracle.com,
          15     updatecenter.oracle.com, and “any Oracle Single Sign On account” (collectively, the “Oracle
          16     Websites”). This retaliatory action was undertaken with the clear intent to interfere with and
          17     harm Rimini’s prospective and current contractual relationships.
          18             61.    Also on January 17, 2017, Oracle filed amended counterclaims in this litigation
          19     and included three new claims for declaratory relief. Recognizing that its conduct is potentially
          20     unlawful, Oracle has requested that the Court hold that Oracle’s purported revocation of
          21     Rimini’s access does not constitute intentional interference with Rimini’s contractual
          22     relationships, interference with Rimini’s expectation of prospective economic advantage, or an
          23     unfair business practice under California Business and Professions Code § 17200.
          24             62.    Oracle’s support customers pay
          25          —to obtain technical support services from Oracle for the enterprise software they license.
          26     By signing up, these customers obtain the right to access, download, and use the bug fixes,
          27     patches, and updates that Oracle makes available on the Oracle Websites for its enterprise
          28     software. But when a customer decides to transition from Oracle to Rimini, they lose access to

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            1    the Oracle Websites on the day their support contract with Oracle expires. Thus, if these
            2    customers do not download copies of the support files they want before their Oracle support
            3    contract lapses, it is Oracle’s policy that the customer will lose access to the software they have
            4    paid for the right to possess and use.
            5           63.      These customers naturally want to retain the support files they are entitled to,
            6    but doing so is a complicated and time-consuming task. The Oracle Websites contain millions
            7    of software files, and Oracle provides no meaningful assistance to its customers to help them
            8    determine which of the files they are entitled to or will be useful. Because Rimini has more
            9    than   10     years   of   experience    helping      clients   navigate   the   Oracle   Websites,
          10     customers transitioning off Oracle support routinely engage Rimini to assist them in setting the
          11     scope and identity of the support files they are entitled to, and then appoint Rimini as their agent
          12     to execute downloads on their behalf.
          13            64.      Rimini has been offering these services to its clients for over a decade, with
          14     Oracle’s full knowledge. Oracle does not dispute that its customers are permitted to hire third
          15     parties like Rimini to perform such services, or that these third parties are entitled to download
          16     copies of support materials from the Oracle Websites.
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          22            65.      If Oracle strips its customers                      select and use Rimini as their
          23     authorized third party to access the Oracle Websites and download support materials, the
          24     customers face the prospect of failing to obtain these valuable materials for which they have
          25     paid Oracle                         . This makes it more burdensome for customers to transition
          26     off Oracle support, and serves as a strong disincentive against switching from Oracle to Rimini
          27     as a competitive aftermarket service.
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            1            66.     Oracle’s actions are designed to completely foreclose its customers from using
            2    “a competing company”—Rimini, Oracle’s largest competitor—“to access [Oracle’s] support
            3    materials,” a result that this Court made clear would constitute copyright misuse during
            4    Rimini I. See Rimini I, ECF No. 111 at 8.
            5            67.     Oracle’s proffered bases for suddenly terminating Rimini’s lawful, contractually
            6    supported access are entirely pretextual. In reality, Oracle’s transparent and anticompetitive
            7    motive is especially clear given Rimini’s more than 10 years of access to the Oracle Websites.
            8    Moreover, Oracle’s conduct—contrary to its allegations in its Third Amended Counterclaims—
            9    constitutes tortious interference with Rimini’s contractual and economic relations, an unfair
          10     business practice under § 17200, and blatant copyright misuse.
          11             68.     Although Rimini vehemently disputes that Oracle has the right to unilaterally
          12     revoke the access rights granted to Rimini by Oracle’s and Rimini’s shared customers, Rimini
          13     will refrain from accessing the Oracle Websites—to its clients’ detriment—until the
          14     illegitimacy of Oracle’s conduct has been adjudicated or is otherwise determined or resolved.
          15             1.      Oracle’s Reasons for Attempting to Revoke Rimini’s Access Are Pretext
          16             69.     In both its letter and its counterclaims, Oracle offers a number of purported
          17     justifications for attempting to revoke Rimini’s access, but none of Oracle’s reasons withstand
          18     even a cursory review.
          19             70.     For example, Oracle claims that revocation is proper because Rimini has
          20     conducted “massive downloads” at rates significantly higher than other Oracle customers. But
          21     the fact that Rimini, which is in the business of providing downloading support to its clients,
          22     engages in substantially more downloading activity than the average Oracle customer accessing
          23     the Oracle Websites is no surprise. Nor is it unusual, as Oracle alleges, that Rimini downloads
          24     a broad scope of materials (including files for different software platforms and files in different
          25     languages) on behalf of clients who are planning to leave Oracle support. Rimini’s clients often
          26     ask Rimini to download a comprehensive set of the support files they have paid for and are
          27     entitled to receive, in light of the fact that the clients will lose access to these files when their
          28     support agreement with Oracle expires. In other words, Oracle’s statistics are a red herring—

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            1    they confirm only that Rimini has a long and growing list of clients that want the downloading
            2    support                                              , and the statistics certainly do not support
            3    any inference that Rimini is engaging in misconduct.
            4              71.    Notably, Oracle does not identify any harm to its websites based on Rimini’s
            5    purportedly “massive” downloads. And, even more tellingly, Oracle does not dispute that the
            6    clients for whom Rimini performed these downloads could permissibly have downloaded
            7    precisely the same volume of files themselves. In reality, Oracle’s objection is not to the
            8    download volumes, but to the fact that Rimini—Oracle’s main competitor in the aftermarket
            9    for software support—is lawfully performing those downloads.
          10               72.    Oracle also refers to Rimini’s “improper computer access” at issue in Rimini I.
          11     But, as Oracle well knows, Rimini Street stopped using automated download tools voluntarily
          12     before Oracle even filed suit in Rimini I. There has been no adjudication that Rimini has used
          13     any automatic tools on the Oracle Websites since that time. To the contrary, Rimini has
          14     repeatedly informed Oracle, via letters and court filings, that Rimini has not engaged in any
          15     automatic downloading. Further, upon information and belief,
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          17     Thus, Oracle’s insinuations that Rimini has used prohibited automated download tools lack any
          18     factual basis.
          19               73.    Oracle also seeks to justify its purported revocation by citing to Rimini’s
          20     “proven infringement” in Rimini I, but this too is baseless. The jury in Rimini I unanimously
          21     concluded that all adjudicated “infringement” was “innocent.” As instructed by this Court, this
          22     finding of “innocent infringement” means that Rimini Street was not “aware” and had “no
          23     reason to believe that its acts constituted infringement.” These findings are consistent with
          24     Rimini’s long-standing position that it has endeavored to provide support consistent with
          25     Oracle’s license agreements. Moreover, there has been no adjudication in this case of any
          26     infringement by Rimini related to downloading or anything else. Nor does Oracle’s letter
          27     explain how Rimini’s lawful downloading on behalf of clients constitutes a continuation of
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            1    Rimini’s “proven infringement,” or why Oracle suddenly must revoke Rimini’s access on this
            2    basis, more than a year after the jury verdict in Rimini I.
            3           74.     In sum, Oracle has failed to identify a single alleged violation or damage of any
            4    kind that would justify its actions. Devoid of any legitimate basis for revoking Rimini’s access,
            5    Oracle’s motives are clear: it wants to foreclose competition in the aftermarket for software
            6    support services. This is especially apparent when viewed in parallel with Oracle’s campaign
            7    of fraudulent misrepresentations to Rimini’s clients and other conduct designed to instill fear,
            8    uncertainty, and doubt about the lawfulness of third-party support, as alleged above.
            9           75.     Indeed, in Oracle’s amended counterclaims filed January 17, 2017, Oracle
          10     pointedly alleged that in light of “Rimini’s recent accusations of unlawful practices against
          11     Oracle, Oracle has determined that termination of Rimini’s and Ravin’s access to and use of
          12     Oracle’s support websites is necessary to finally bring an end to Rimini’s and Ravin’s unlawful
          13     practices.” Oracle thus has made clear that it has taken this action not for legitimate business
          14     reasons but instead to boycott, retaliate against, and harm Rimini for daring to enforce its legal
          15     rights and for daring to hold Oracle accountable for its unlawful and anticompetitive conduct.
          16     This is further evidence of Oracle’s anticompetitive conduct and intent.
          17            76.     Oracle seeks to justify its illegal conduct by citing its website terms of use, which
          18     purportedly give Oracle the right to terminate access to the Oracle Websites “at any time, for
          19     any reason.”
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          24                                                                             Moreover, Oracle cannot
          25     terminate access to its support websites for an improper purpose, such as to impede legitimate
          26     competition, which is exactly what it is doing here.
          27     ///
          28     ///

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            1           2.      Oracle’s Attempted Revocation Also Constitutes Copyright Misuse
            2           77.     In addition to being entirely unjustified, Oracle’s conduct constitutes copyright
            3    misuse. Oracle is attempting to leverage its limited copyright power to control competition in
            4    the aftermarket for (uncopyrightable) software support services.          Specifically, Oracle’s
            5    attempted revocation requires Oracle’s customers not to use Rimini—Oracle’s primary
            6    competitor in the aftermarket for software support—for access and downloading services
            7    related to those customers’ software support materials.
            8           78.     Oracle’s conduct indisputably violates the boundaries this Court set in Rimini I
            9    with respect to copyright misuse. In Rimini I, Rimini alleged a counterclaim for declaratory
          10     judgment of copyright misuse, and Oracle moved to dismiss. In granting Oracle’s motion, this
          11     Court drew a line in the sand, explaining that Oracle’s policies did not constitute copyright
          12     misuse because they were “only a limitation on third-party business models and [] not a
          13     restriction on Oracle customers” and did not “preclude a customer from using either a
          14     competing company or no company at all to access its support materials.” Rimini I, ECF
          15     No. 111 at 8 (emphasis added). Oracle has now crossed that line: the effect of Oracle’s
          16     revocation notice is that customers are now precluded from using Rimini, Oracle’s largest
          17     competitor, to access Oracle support materials.
          18            79.     Moreover, Oracle is leveraging its copyrights to accomplish the intended
          19     revocation. Oracle claims the right, based on its terms of use, to terminate any party’s access
          20     to its website “at any time for any reason.” Third Amended Counterclaims at ¶ 47. Thus,
          21     despite the fact that Oracle’s customers have paid                                         for the
          22     right to access the Oracle Websites, and despite Oracle’s failure to identify any harm or
          23     violation caused by Rimini’s downloading practices, Oracle now contends it can terminate the
          24     agency those customers have rightfully granted to Rimini to assist with certain downloading
          25     tasks. Oracle is only able to impose such unfavorable (and anticompetitive) conditions on its
          26     customers as a result of its copyright power—if a customer will not acquiesce to Oracle’s
          27     unfettered discretion to revoke, Oracle can refuse to offer to provide support services (including
          28     access to the copyrighted materials on the Oracle Websites).

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            1           80.     Rimini and Oracle are competitors in the aftermarket (or aftermarkets) for
            2    software support. One service Rimini offers its clients is assistance in accessing the Oracle
            3    Websites and downloading support files that the customer has paid Oracle for in full and has a
            4    right to obtain, possess, and use. Clients appoint Rimini as their agent to perform these services.
            5    Oracle’s letter claims that Oracle’s purported revocation “extends to any permission, license,
            6    or right granted or allegedly granted to Rimini by a Rimini customer, Rimini prospective
            7    customer, or other third party.” The “Rimini customer[s]” that grant Rimini permission to
            8    access the Oracle Websites are also Oracle customers that have paid Oracle for the right to
            9    possess and use the support materials located on the Oracle Websites and for the right to access
          10     the websites—including by using third parties like Rimini—to obtain those purchased
          11     materials. By attempting to revoke Rimini’s access, Oracle is expressly and knowingly
          12     prohibiting its customers from using Rimini’s services to access and download support
          13     materials. Oracle’s conduct therefore forces its customers “not to use a competitor’s products”
          14     and constitutes copyright misuse. See ECF No. 90 at 6.
          15            81.     As a result of Oracle’s conduct, Oracle’s customers that are transitioning to
          16     Rimini are forced to either download files themselves (and to navigate the Oracle Websites on
          17     their own, without Rimini’s guidance), try to identify a third-party resource with the knowledge
          18     and capacity to navigate the Oracle Websites and perform the downloads, or leave Oracle
          19     support without having secured the files they paid for and are entitled to possess and use. This
          20     result does not promote “the broad public availability of the arts nor the public welfare.” Omega
          21     S.A. v. Costco Wholesale Corp., 776 F.3d 692, 705 (9th Cir. 2015) (Wardlaw, J. concurring).
          22     On the contrary, it reduces competition by making it more difficult for customers to leave
          23     Oracle support and eliminates customer choice in the aftermarket for software support services.
          24            3.      Oracle’s Revocation Notice Has Interfered with, and Will Continue to
          25                    Interfere with, Rimini’s Contractual and Prospective Economic
          26                    Relationships
          27            82.     Oracle’s conduct also interferes with Rimini’s contractual and economic
          28     relationships, and will continue to do so going forward.

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            1           83.     While Rimini does not require clients to have software archives, Rimini has
            2    entered into contracts with nearly all of its clients, based on client demand, to provide support
            3    file downloading services before they leave Oracle support.
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          14            84.     Oracle is well aware that Rimini has been contracting with clients to provide
          15     such services for the past decade—Rimini and Rimini’s clients (in response to third-party
          16     subpoenas) have produced hundreds of agreements to Oracle in both Rimini I and this litigation
          17     containing variations of the above language. Oracle is also aware that Rimini is continually
          18     attempting to enter into new contracts with both current and prospective clients.
          19            85.     Oracle’s attempted revocation of Rimini’s access to the Oracle Websites is
          20     intentional, willful, and designed to interfere with Rimini’s contractual and economic relations.
          21     Oracle acted with the knowledge that its actions would cause such interference, and has no
          22     privilege or justification for doing so. And Oracle’s attempted revocation has disrupted, and
          23     will continue to disrupt, both Rimini’s current contracts with clients and Rimini’s economic
          24     relationships with current and prospective clients.
          25            86.     Indeed, Oracle’s revocation notice prevented Rimini from completing
          26     downloading services that Rimini was contractually obligated to provide.
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            3           87.       Moreover, Oracle’s conduct has disrupted Rimini’s performance of its
            4    contractual downloading obligations by making performance more burdensome.
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          12            88.       Oracle’s purported revocation has also disrupted Rimini’s enjoyment of
          13     economic gain from its existing economic relationships.
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          24                                                         Oracle’s conduct has therefore significantly
          25     reduced the economic gain Rimini was reasonably likely to receive from its prospective client
          26     relationships.
          27            89.       Oracle’s conduct will also continue to interfere with Rimini’s contractual and
          28     economic relationships.

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            9              90.   Through Oracle’s interference with Rimini’s contractual and economic
          10     relationships, Oracle has also reduced the goodwill associated with Rimini’s brand and
          11     damaged Rimini’s reputation among its current clients and economic relationships.
          12               4.    Oracle’s Purported Revocation is Contrary to the Spirit of the Antitrust
          13                     Laws and Harms Competition
          14               91.   Oracle is the largest enterprise software company in the world, and it dominates
          15     the aftermarket for software support for its own software products, providing such services to
          16     the overwhelming majority of its software customers. Oracle maintains this dominance despite
          17     charging prices                            what Rimini and other third-party support providers
          18     charge.
          19               92.   Oracle seeks to use its market power to foreclose competition in the aftermarket
          20     or aftermarkets (including any submarkets) for software support for Oracle enterprise software.
          21     Indeed, Oracle has engaged in a campaign to spread fear, uncertainty, and doubt among
          22     customers, including through the pervasive use of false statements regarding third-party support
          23     for Oracle enterprise software. Moreover, despite leading its customers to believe at the time
          24     they license Oracle enterprise software that they are free to purchase aftermarket support
          25     services from third parties, Oracle has erected numerous hurdles to prevent its customers from
          26     using third-party support, including                                    and prohibiting the use
          27     of automated download tools on its websites (which makes it more difficult for clients to
          28     download the materials they have paid for prior to leaving Oracle support).

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            1           93.     Oracle’s purported revocation of Rimini’s access to the Oracle Websites is yet
            2    another attempt by Oracle to foreclose third-party support in the aftermarket (or aftermarkets)
            3    for software support for its enterprise software. Oracle has been fully aware of Rimini’s
            4    downloading services for over a decade, and has never taken the position that Rimini could not
            5    download support materials on behalf of customers until now. As alleged above, Oracle’s
            6    proffered justifications for the revocation are entirely pretextual. In light of Oracle’s long
            7    history of assenting to Rimini’s provision of these services, and its failure to provide any
            8    legitimate basis for suddenly changing course, it is clear that Oracle’s true motive is to foreclose
            9    competition from Rimini, its largest competitor for software support services.
          10            94.     Oracle’s efforts to foreclose competition in the aftermarket (or aftermarkets) for
          11     software support violate the policy or spirit of the antitrust laws because the effects of Oracle’s
          12     conduct are comparable to a violation of those laws, or otherwise significantly threaten or harm
          13     competition as described herein.
          14            95.      Rimini and Oracle compete in the relevant aftermarket (or aftermarkets) for
          15     software support for Oracle enterprise software. Rimini and Oracle compete for customers in
          16     California and throughout the United States.
          17            96.     The aftermarket (or aftermarkets) for software support are separate from, albeit
          18     derivative of, the primary market for Oracle’s enterprise software. Indeed, but for the demand
          19     for Oracle’s enterprise software, there would be no demand for support services for that
          20     software.
          21                                                                             It is clear that support for
          22     Oracle’s enterprise software is part of a separate, albeit derivative, aftermarket (or aftermarkets)
          23     for software support.
          24            97.
          25

          26                   In fact, Oracle leads its customers to believe, and customers reasonably believe,
          27     that they will be free to shop in the aftermarket (or aftermarkets) for software support despite
          28     their choice in the primary market. Further, at the time Oracle’s customers entered into

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            1    agreements with Oracle, it was impossible for them to know that Oracle would later alter its
            2    practices in ways designed to deter competition for aftermarket software support, including
            3    Oracle’s sudden and baseless termination of the customers’ right to designate Rimini as a
            4    downloading support service provider. Accordingly, customers’ selection of Oracle software
            5    is not the functional equivalent of a contractual commitment to permit Oracle’s anticompetitive
            6    conduct in the aftermarket (or aftermarkets) for software support.
            7           98.       Oracle’s customers generally pay            for Oracle’s software and expend
            8    significant resources implementing and customizing that software to fit the needs of their
            9    business. Enterprise software customers often need to purchase necessary hardware to install
          10     the software, hire employees to maintain the software, and retain consultants to customize and
          11     integrate the software with their computer systems to fully exploit the features of the software.
          12     These investments may not necessarily be re-deployed easily to switch to another vendor’s
          13     enterprise software. Switching to another vendor’s software may entail substantial expense in
          14     the form of acquisition costs, implementation costs, customization costs, and the cost of re-
          15     training of employees. Finally, comparative life-cycle pricing is difficult given the numerous
          16     variable costs involved, which all can vary as a company expands or downsizes. Customers
          17     make their investments believing, based on Oracle’s own statements, that they will be permitted
          18     to obtain Oracle’s software and later, if they choose, transition from Oracle to a third-party
          19     support provider like Rimini to provide support for the software. But now that these customers
          20     are locked in to Oracle software—having built their business infrastructure around the software
          21     and invested                    —Oracle seeks to capitalize on their vulnerability by changing
          22     its policies and otherwise erecting barriers to prevent its customers from transitioning to third-
          23     party support.
          24            99.       Oracle’s conduct is designed to, and will, reduce competition and customer
          25     choice in the aftermarket (or aftermarkets) for software support. As a result of Oracle’s
          26     unprecedented actions, customers can no longer use Rimini to download software support files
          27     they have already paid for and are entitled to obtain, possess, and use as they transition to a
          28     third-party support provider. These customers thus must choose between conducting their own

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            1    downloading (and attempting to navigate the byzantine Oracle Websites on their own), trying
            2    to identify a third-party resource with the knowledge and capacity to navigate the Oracle
            3    Websites and perform the downloads, or leaving Oracle support without the files for which they
            4    paid              fees. This serves as a barrier to deter customers from leaving Oracle support,
            5    and, for those customers that elect to do so anyway, makes transitioning more burdensome and
            6    inefficient. Such conduct penalizes customers that deal with Oracle’s competitors and further
            7    deters customers from switching from Oracle aftermarket support to other competitors, thus
            8    compelling customers to deal with Oracle exclusively on a de facto basis.
            9            100.    Oracle’s attempted revocation also violates the antitrust laws and harms
          10     competition because Oracle is wrongfully seeking to leverage its copyright monopoly over its
          11     enterprise software and support materials to control the aftermarket (or aftermarkets) for
          12     uncopyrightable software support services. A copyright owner’s attempt “to impermissibly
          13     expand his lawful protection from competition contravenes not only the policy of the copyright
          14     laws, but also the central purpose of the antitrust laws . . . to preserve competition.” Omega
          15     S.A. v. Costco Wholesale Corp., 776 F.3d 692, 699 (9th Cir. 2015) (Wardlaw, J. concurring).
          16             101.    Oracle’s message to its customers is clear: if they do not want to lose access to
          17     support materials they have paid                           for, these customers must stay with
          18     Oracle aftermarket support in perpetuity.        Oracle’s aggressive tactics create a strong
          19     disincentive for its customers to engage Oracle’s competitors like Rimini, and further enable
          20     Oracle to maintain its dominant market position and                                .
          21                                       FIRST CAUSE OF ACTION
          22                            (Declaration of Non-Infringement of Copyrights)
          23                                 (Against Oracle International Corporation)
          24             102.    Rimini incorporates by reference and realleges Paragraphs 1 through 101 as if
          25     set forth in full herein.
          26             103.    Rimini seeks a declaratory judgment under (i) the United States Copyright Act
          27     of 1976, 17 U.S.C. §§ 101 et seq. (the “Copyright Act”), and (ii) 28 U.S.C. §§ 2201 and 2202
          28     (the “Declaratory Judgment Act”). There presently exists a justiciable controversy regarding

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            1    Rimini’s right to provide software support free of any allegation by Oracle that such conduct
            2    constitutes an infringement of Oracle’s copyrights.
            3           104.    Since at least 2010, Oracle has publicly accused Rimini of violating its software
            4    copyrights. On January 25, 2010, Oracle filed a Complaint against Rimini in the District of
            5    Nevada alleging, inter alia, infringement of copyrights that purportedly covered “numerous
            6    versions of Oracle software, including the updates, patches and fixes incorporated in each
            7    relevant version, service packs of Oracle updates, patches and fixes, and individual exemplar
            8    Software and Support Materials, including certain Oracle knowledge management solutions
            9    and certain Oracle updates, patches and fixes.” Rimini I, ECF No. 1 at 20–21.
          10            105.    In its answer to Oracle’s complaint, Rimini denied Oracle’s copyright
          11     infringement allegations and asserted that the license agreements of its clients authorized its
          12     activities with respect to the asserted copyrights. Rimini I, ECF No. 30 at 25.
          13            106.    On March 30, 2012, Oracle filed its First Motion for Partial Summary Judgment
          14     of Infringement on eight copyright registrations relating to Rimini’s provision of services for
          15     four of its clients. Rimini I, ECF Nos. 237, 246. In response, Rimini argued that its activities
          16     were authorized by Oracle’s software licenses. See Rimini I, ECF No. 266.
          17            107.    The Court granted in part and denied in part Oracle’s First Motion for Partial
          18     Summary Judgment in part on February 13, 2014. The Court found that Rimini had infringed
          19     six of Oracle’s PeopleSoft copyrights when providing services to two of Rimini’s PeopleSoft
          20     clients. Rimini I, ECF No. 474.
          21            108.    While Rimini respectfully disagrees with the Court’s February 13, 2014 Order,
          22     Rimini modified its services to discontinue use of the processes the Court found to be infringing.
          23     By July 31, 2014, Rimini had completed the modifications to its processes to comply with the
          24     Court’s February 13, 2014 Order.
          25            109.    Notwithstanding Rimini’s changed processes to conform with the Court’s order,
          26     and without specifying what specific processes are unlawful or how support could lawfully be
          27     provided as contemplated by its license agreements, Oracle has continued to assert that Rimini’s
          28     new processes infringe Oracle’s copyrights at case management conferences (see Rimini I, ECF

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            1                                   SECOND CAUSE OF ACTION
            2    (Declaration of No Violation of Federal, California, and Nevada Anti-Hacking Statutes)
            3                                       (Against All Defendants)
            4            114.    Rimini incorporates by reference and realleges Paragraphs 1 through 113 as if
            5    set forth in full herein.
            6            115.    Rimini seeks a declaratory judgment under 28 U.S.C. §§ 2201 and 2202 (the
            7    “Declaratory Judgment Act”). There presently exists a justiciable controversy regarding
            8    whether access by Rimini to the Oracle Websites after Oracle’s attempted revocation of
            9    Rimini’s access rights takes effect will constitute a violation of the federal Computer Fraud and
          10     Abuse Act (18 U.S.C. § 1030) (“CFAA”), the California anti-hacking statute (Cal. Penal Code
          11     § 502), and the Nevada anti-hacking statute (Nev. Rev. Stat. § 205.4765).
          12             116.    Oracle’s January 17, 2017 letter to Rimini purports to revoke Rimini’s access to
          13     the Oracle Websites as of March 18, 2017. Oracle’s letter also states that “any continued access
          14     [by Rimini to the Oracle Websites] may violate state and federal computer access laws.”
          15             117.    Rimini accesses the Oracle Websites as an appointed agent of Oracle’s
          16     customers, pursuant to the authorization and permission granted to Rimini by those customers.
          17

          18

          19

          20                                        . These customers have authorized Rimini to act as an agent
          21     to, among other things, access and download support materials from the Oracle Websites on
          22     their behalf. As a result, Rimini has the authority to access the Oracle Websites as an agent of
          23     Oracle’s customers, when so appointed, and Rimini’s access to, use of, and downloading from,
          24     the Oracle Websites is authorized and permitted, regardless of Oracle’s cease and desist letter
          25     and counterclaims seeking to block Rimini’s access to the Oracle Websites.
          26             118.    In light of Oracle’s cease and desist letter and counterclaims, and Oracle’s
          27     conduct in Rimini I, Oracle’s statements and actions make clear that a credible threat of
          28     immediate litigation exists regarding whether any access to the Oracle Websites by Rimini after

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            1    the 60-day notice period constitutes a violation of the federal and state anti-hacking laws. The
            2    parties thus have adverse legal interests over a dispute of sufficient reality that is capable of
            3    conclusive resolution through a declaratory judgment.
            4            119.    Rimini therefore requests a judgment declaring that any access to, use of, and
            5    downloading from, the Oracle Websites after March 18, 2017 as authorized by Rimini’s clients
            6    does not violate the federal, California, or Nevada anti-hacking statutes.
            7            120.    Moreover, although Oracle’s revocation letter was sent on behalf of both Oracle
            8    America, Inc. and Oracle International Corporation (“OIC”),
            9

          10                                       THIRD CAUSE OF ACTION
          11         (Declaration of Unenforceability of Copyrights As a Result of Copyright Misuse)
          12                                 (Against Oracle International Corporation)
          13             121.    Rimini incorporates by reference and realleges Paragraphs 1 through 120 as if
          14     set forth in full herein.
          15             122.    Rimini seeks a declaratory judgment under the Declaratory Judgment Act.
          16     There presently exists a justiciable controversy regarding whether Oracle’s attempted
          17     revocation of Rimini’s access to the Oracle Websites constitutes copyright misuse. The parties
          18     thus have adverse legal interests over a dispute of sufficient reality that is capable of conclusive
          19     resolution through a declaratory judgment.
          20             123.    In light of Oracle’s attempt to extend its copyright over software into the
          21     aftermarket for software support in violation of the policies underlying the copyright laws,
          22     Rimini seeks a declaration that Oracle’s copyrights listed in Paragraph 113 are unenforceable
          23     until Oracle withdraws its revocation of Rimini’s access to the Oracle Websites.
          24                                      FOURTH CAUSE OF ACTION
          25                         (Intentional Interference With Contractual Relations)
          26                                          (Against All Defendants)
          27             124.    Rimini incorporates by reference and realleges Paragraphs 1 through 123 as if
          28     set forth in full herein.

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            1               125.   At all relevant times, Rimini has maintained valid contracts with clients to
            2    provide aftermarket support services for software that its clients had licensed from Oracle.
            3               126.   At all relevant times, Oracle had knowledge of the existence of these valid
            4    contracts between Rimini and its clients. Indeed, Oracle has contacted a number of Rimini’s
            5    clients directly regarding their use of Rimini’s software support services.
            6               127.   Oracle has engaged in a concerted campaign to create fear, uncertainty, and
            7    doubt among Rimini’s clients and to interfere with and disrupt the valid contracts between
            8    Rimini and its clients. As set forth above, Oracle’s campaign includes, without limitation,
            9    numerous false and misleading representations regarding Rimini’s software support services
          10     and targeting Rimini’s clients with threats of selective license audits, and Oracle’s purported
          11     revocation of Rimini’s ability to access the Oracle Websites on behalf of Rimini’s clients, which
          12     Rimini has agreed to do by contract.
          13                128.   Oracle’s actions are designed to induce Rimini’s clients to breach their contracts
          14     with Rimini or, at a minimum, to disrupt those contracts in order for Oracle to obtain an unfair
          15     competitive advantage over Rimini. Oracle knows that its actions are certain, or substantially
          16     certain, to cause the breach and/or disruption of the contracts between Rimini and its clients.
          17                129.   Oracle’s intentional interference has resulted in the actual breach and/or
          18     disruption of the contractual relationships that Rimini enjoyed with a number of its clients.
          19     Rimini has also been forced to dedicate substantial resources to investigate and respond to client
          20     concerns related to Oracle’s wrongful conduct alleged herein, thereby making Rimini’s
          21     enjoyment of the contracts more expensive and burdensome. Moreover, Oracle’s purported
          22     revocation of Rimini’s access to the Oracle Websites has impeded Rimini’s ability to provide
          23     downloading support to its clients, and made Rimini’s provision of such services more
          24     burdensome, which services Rimini is obligated to perform by the terms of its contracts with
          25     clients.
          26                130.   As a direct and proximate result of Oracle’s intentional interference with
          27     Rimini’s contractual relations, Rimini has now suffered and will continue to suffer, economic
          28     harm, including, but not limited to, lost profits, costs of mitigation, loss of goodwill, injury to

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            1    its business reputation, and other actual, consequential, and/or incidental damages in an amount
            2    to be determined in the course of this proceeding. Oracle’s wrongful conduct described herein
            3    was a substantial factor in causing this harm.
            4            131.     In engaging in this scheme to wrongfully interfere with the contractual relations
            5    between Rimini and its clients, Oracle’s conduct was willful, malicious, oppressive, and in
            6    conscious disregard for Rimini’s rights. Rimini is therefore entitled to an award of punitive
            7    damages to punish Oracle’s wrongful conduct and to deter future wrongful conduct.
            8                                     FIFTH CAUSE OF ACTION
            9                   (Intentional Interference With Prospective Economic Advantage)
          10                                         (Against All Defendants)
          11             132.     Rimini incorporates by reference and realleges Paragraphs 1 through 131 as if
          12     set forth in full herein.
          13             133.     Rimini has prospective economic relationships with both its current and
          14     prospective clients. These economic relationships have a probable future economic benefit or
          15     advantage to Rimini and it is reasonably likely and probable that Rimini would have realized
          16     these economic advantages absent Oracle’s wrongful conduct.
          17             134.     Oracle had knowledge of the existence of these prospective economic
          18     relationships. Indeed, Oracle has contacted a number of Rimini’s clients directly regarding
          19     their use of Rimini’s software support services.
          20             135.     Oracle has intentionally interfered with the prospective economic relationships
          21     by, for example, making numerous false and misleading representations to Rimini’s current and
          22     prospective clients regarding Rimini’s software support services, targeting Rimini’s clients with
          23     threats of selective license audits, and by purporting to revoke Rimini’s access to the Oracle
          24     Websites.
          25             136.     These actions by Oracle are designed to disrupt Rimini’s prospective economic
          26     relationships with its current and prospective clients in order for Oracle to obtain an unfair
          27     competitive advantage over Rimini. Indeed, Oracle knows that its actions are certain or
          28     substantially certain to disrupt Rimini’s prospective economic relationships.

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            1           137.    Oracle’s actions to interfere with Rimini’s prospective economic relationships
            2    are independently wrongful acts because they are proscribed by the following legal standards:
            3                   a.     Oracle’s false and misleading statements to Rimini’s current and
            4    prospective clients regarding Rimini’s services constitute acts of consumer fraud and deceptive
            5    trade practices under the Nevada Deceptive Trade Practices Act;
            6                   b.     Oracle’s false and misleading statements to Rimini’s current and
            7    prospective clients regarding Rimini’s services constitute violations of the Lanham Act;
            8                   c.     Oracle’s conduct described herein constitutes violations of California
            9    Business and Professions Code §§ 17200 et seq.;
          10                    d.     Oracle’s conduct described herein constitutes copyright misuse; and
          11                    e.
          12

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          14            138.    Oracle’s intentional interference has actually disrupted Rimini’s prospective
          15     economic relationships with some of its current and prospective clients. Indeed, but for
          16     Oracle’s anticompetitive tactics and as a direct result of Oracle’s wrongful conduct, some
          17     clients have terminated their relationships with Rimini or decided against expanding their
          18     relationship with Rimini, and some prospective clients have decided against contracting with
          19     Rimini for aftermarket support of their Oracle software products. Moreover, Oracle’s purported
          20     revocation of Rimini’s access to the Oracle Websites has impeded Rimini’s ability to provide
          21     downloading support to its prospective and current clients, and has made Rimini’s provision of
          22     software support services more burdensome, thereby disrupting Rimini’s expectation of future
          23     gain from Rimini’s existing economic relationships.
          24            139.    As a direct and proximate result of Oracle’s intentional interference with
          25     Rimini’s prospective economic relationships, Rimini has now suffered and will continue to
          26     suffer, economic harm, including, but not limited to, lost profits, costs of mitigation, loss of
          27     goodwill, injury to Rimini’s business reputation, and other actual, consequential, and/or
          28

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            1    incidental damages in an amount to be determined in the course of this proceeding. Oracle’s
            2    wrongful conduct described herein was a substantial factor in causing this harm.
            3            140.    In engaging in this concerted campaign to interfere with Rimini’s prospective
            4    economic relationships with its current and prospective clients, Oracle’s conduct was willful,
            5    malicious, oppressive, and in conscious disregard for Rimini’s rights. Rimini is therefore
            6    entitled to an award of punitive damages to punish Oracle’s wrongful conduct and to deter
            7    future wrongful conduct.
            8                                    SIXTH CAUSE OF ACTION
            9                         (Violations of Nevada Deceptive Trade Practices Act)
          10                                        (Against All Defendants)
          11             141.    Rimini incorporates by reference and realleges Paragraphs 1 through 140 as if
          12     set forth in full herein.
          13             142.    As described herein, Oracle has committed acts of consumer fraud and deceptive
          14     trade practices within the meaning of NRS § 41.600(2)(e) and NRS §§ 598.0903, et seq. These
          15     acts include, without limitation, (i) Oracle’s numerous false and misleading representations of
          16     fact disparaging Rimini’s services, and (ii) purporting to allow licensees that purchase Oracle
          17     software to use third-party support providers such as Rimini but then directly interfering with
          18     licensees’ ability to do so, including by attempting to revoke Rimini’s access to the Oracle
          19     Websites and the other acts as alleged herein.
          20             143.    Oracle’s false and misleading representations of fact disparaging Rimini’s
          21     services include, but are not limited to, that (i)
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            5            144.    Rimini’s current and prospective clients have relied upon Oracle’s false and
            6    misleading misrepresentations of fact regarding Rimini’s services to Rimini’s detriment.
            7            145.    This evidence that Oracle has engaged in deceptive trade practices is also prima
            8    facie evidence of Oracle’s intent to injure Rimini and to destroy or substantially lessen
            9    competition in aftermarket service for Oracle’s software products.
          10             146.    Oracle’s conduct, as alleged herein, constitutes “bait and switch” advertising as
          11     that term is defined in NRS §§ 598.0903, et seq.
          12             147.    Oracle’s deceptive trade practices and acts of consumer fraud have proximately
          13     caused the actual breach and/or disruption of the contractual relationships that Rimini enjoyed
          14     with a number of its clients. Oracle’s actions have also resulted in the disruption of Rimini’s
          15     prospective economic relationships with its current and prospective clients. And, as a direct
          16     result of Oracle’s conduct, Rimini has suffered and will continue to suffer, economic harm,
          17     including, but not limited to, lost profits, costs of mitigation, loss of goodwill, injury to Rimini’s
          18     business reputation, and other actual, consequential, and/or incidental damages in an amount to
          19     be determined in the course of this proceeding.
          20             148.    Unless Oracle is enjoined from continuing to commit the acts of consumer fraud
          21     described herein, Oracle’s actions are likely to recur and will cause Rimini irreparable injury
          22     for which there is no adequate remedy at law.
          23             149.    Rimini is also entitled to its costs in this action and reasonable attorneys’ fees
          24     under NRS § 41.600(3)(b).
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            1                                  SEVENTH CAUSE OF ACTION
            2                                   (Violations of the Lanham Act)
            3                                       (Against All Defendants)
            4            150.    Rimini incorporates by reference and realleges Paragraphs 1 through 149 as if
            5    set forth in full herein.
            6            151.    As described herein, Oracle has made false and misleading statements regarding
            7    Rimini’s services in advertising or promotional material to Rimini’s current and prospective
            8    clients. These false and misleading statements about Rimini’s services were made in interstate
            9    commerce.
          10             152.    Oracle’s false and misleading statements regarding Rimini’s services actually
          11     deceived, or have a tendency to deceive, a substantial segment of Rimini’s current and
          12     prospective clients to whom the false and misleading statements were directed. These false and
          13     misleading statements deceived, or have a tendency to deceive, Rimini’s current and
          14     prospective clients into believing, without limitation, that
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          26             153.    Oracle has disseminated, and, upon information and belief, continues to
          27     disseminate, the false and misleading statements described herein to Rimini’s current and
          28     prospective client base deliberately and with the intent of preventing customers that planned to

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            1    leave Oracle and contract with Rimini from doing so, and to induce clients that have chosen
            2    Rimini to terminate their relationships and return to Oracle.
            3            154.    Oracle’s false and misleading statements regarding Rimini’s services are
            4    material in that they are likely to influence, and, as alleged herein, have influenced, the
            5    purchasing decisions of Rimini’s current and prospective clients.
            6            155.    Rimini has been and is likely to be further injured by Oracle’s false and
            7    misleading statements about Rimini’s services by the direct diversion of sales from Rimini to
            8    Oracle and by the lessening of the goodwill that Rimini enjoys with its clients with regard to
            9    Rimini’s services.
          10             156.    Rimini is informed and believes that unless Oracle is enjoined from making false
          11     and misleading statements regarding Rimini’s services in advertising and promotional material
          12     to Rimini’s current and prospective clients, Rimini will continue to suffer immediate and
          13     irreparable injury. This injury includes negative impacts on Rimini’s reputation that cannot be
          14     remedied through damages, and Rimini has no adequate remedy at law. Rimini is entitled to a
          15     permanent injunction pursuant to 15 U.S.C. § 1116 restraining and enjoining Oracle and its
          16     agents, employees, and all persons acting in concert with or on their behalf from doing or
          17     causing any further violations of the Lanham Act, 15 U.S.C. § 1125.
          18                                    EIGHTH CAUSE OF ACTION
          19               (Violations of California Business & Professions Code §§ 17200 et seq.)
          20                                        (Against All Defendants)
          21             157.    Rimini incorporates by reference and realleges Paragraphs 1 through 156 as if
          22     set forth in full herein.
          23             158.    Oracle’s aforementioned actions constitute “unlawful” business practices under
          24     California Business & Professions Code §§ 17200 et seq.—including, but not limited to,
          25     Oracle’s (i) intentional interference with Rimini’s contractual relations, (ii) intentional
          26     interference with Rimini’s prospective economic advantage, (iii) violations of the Nevada
          27     Deceptive Trade Practices Act, (iv) violations of the Lanham Act, (v) copyright misuse, and
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            1            159.    Oracle’s attempted revocation of Rimini’s access to the Oracle Websites and
            2    other conduct described above also constitutes an “unfair” business practice under California
            3    Business & Professions Code §§ 17200 et seq. and Cel-Tech Commc’ns, Inc. v. Los Angeles
            4    Cellular Tel. Co., 20 Cal. 4th 163 (1999).
            5            160.    Oracle’s conduct violates the policy or spirit of the antitrust laws because its
            6    effects are comparable to a violation of those laws, or otherwise significantly threatens or harms
            7    competition as described herein.
            8            161.    Oracle’s conduct also constitutes copyright misuse.           A copyright owner’s
            9    attempt “to impermissibly expand his lawful protection from competition contravenes not only
          10     the policy of the copyright laws, but also the central purpose of the antitrust laws . . . to preserve
          11     competition.” Omega S.A. v. Costco Wholesale Corp., 776 F.3d 692, 699 (9th Cir. 2015)
          12     (Wardlaw, J. concurring).
          13             162.    As a direct and proximate result of Oracle’s unlawful and unfair acts, Rimini has
          14     suffered injury to its business, including damage to its reputation and client relationships as
          15     well as actual and consequential damages, including the loss of past, present, and future profits,
          16     the loss of clients and potential clients, and disruption of its legally protected interest to operate
          17     its business as intended. Rimini has no adequate remedy at law and will suffer further injury
          18     and damage unless such wrongful conduct is enjoined.
          19             163.    Rimini therefore seeks an injunction pursuant to California Business and
          20     Professions Code § 17203 prohibiting Oracle from engaging in unfair and unlawful business
          21     practices, including those set forth herein, and remedying the harm Oracle has caused Rimini.
          22             164.    As a direct and proximate result of Oracle’s unlawful and unfair acts, Oracle has
          23     further been unjustly enriched in an amount to be determined at trial. Pursuant to Business and
          24     Professions Code § 17203, Rimini seeks complete restitution from Oracle as a result of its unfair
          25     and unlawful acts.
          26                                         PRAYER FOR RELIEF
          27             WHEREFORE, in light of the foregoing allegations, Rimini seeks judgment awarding
          28     it the following relief:

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            1            (a)     A judgment declaring that, since at least July 31, 2014, Rimini has not infringed
            2    Oracle’s software copyrights identified in Paragraph 113 of this Complaint;
            3            (b)     A judgment declaring that Rimini’s access to the Oracle Websites, on behalf of
            4    Oracle customers with contractual rights to access and download files from those websites,
            5    would not constitute hacking under the CFAA or the California and Nevada anti-hacking
            6    statutes;
            7            (c)     A judgment declaring that Oracle’s copyrights identified in Paragraph 113 are
            8    unenforceable in light of and until Oracle remedies its copyright misuse in the form of its refusal
            9    to give Rimini access to the Oracle Websites.
          10             (d)     Damages in an amount to be determined at trial;
          11             (e)     Injunctive relief, including an order prohibiting Oracle from engaging in the
          12     wrongful conduct described herein and remedying the harm caused by Oracle’s conduct;
          13             (f)     Punitive damages in an amount to be determined at trial;
          14             (g)     Attorneys’ fees, costs, and expenses incurred in connection with this action; and
          15             (h)     All such other and further relief as this Court deems just and proper.
          16     ///
          17     ///
          18     ///
          19     ///
          20     ///
          21     ///
          22                                      DEMAND FOR JURY TRIAL
          23             In accordance with Fed. R. Civ. P. 38(b), Plaintiff Rimini Street, Inc. demands a trial by
          24     jury on all issues so triable.
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            1    Dated: September 19, 2017
            2                                         GIBSON, DUNN & CRUTCHER LLP
            3
                                                      By: /s/ Jeffrey T. Thomas
            4                                                        Jeffrey T. Thomas
            5                                         Attorneys for Plaintiff and Counterdefendant
                                                      Rimini Street, Inc., and Counterdefendant Seth
            6                                         Ravin
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